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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7     GABRIEL M. BRISTOL,                                     Case No. 2:16-CV-705 JCM (CWH)
                 8                                             Plaintiff(s),                     ORDER
                 9              v.
               10      ELIZABETH JOAN HUGHES,
               11                                            Defendant(s).
               12
               13               Presently before the court is Magistrate Judge Hoffman’s report and recommendation.
               14     (ECF No. 34). No objections have been filed, and the deadline for filing objections has since
               15     passed.
               16               This court “may accept, reject, or modify, in whole or in part, the findings or
               17     recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). Where a party timely objects
               18     to a magistrate judge’s report and recommendation, then the court is required to “make a de novo
               19     determination of those portions of the [report and recommendation] to which objection is made.”
               20     28 U.S.C. § 636(b)(1).
               21               Where a party fails to object, however, the court is not required to conduct “any review at
               22     all . . . of any issue that is not the subject of an objection.” Thomas v. Arn, 474 U.S. 140, 149
               23     (1985). Indeed, the Ninth Circuit has recognized that a district court is not required to review a
               24     magistrate judge’s report and recommendation where no objections have been filed. See United
               25     States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003) (disregarding the standard of review
               26     employed by the district court when reviewing a report and recommendation to which no
               27     objections were made).
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U.S. District Judge
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                1             Plaintiff has not objected to the report and recommendation. Nevertheless, this court finds
                2     it appropriate to engage in a de novo review to determine whether to adopt the recommendation of
                3     the magistrate judge. Upon reviewing the recommendation and underlying briefs, the court finds
                4     that good cause appears to adopt the magistrate judge’s findings.
                5             As the report and recommendation notes, the current scheduling order remains in effect as
                6     to defendant’s counterclaims.
                7             Accordingly,
                8             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Magistrate Judge
                9     Hoffman’s report and recommendation (ECF No. 34) be, and the same hereby is, ADOPTED in
              10      its entirety.
              11              IT IS FURTHER ORDERED that plaintiff’s claims against defendant be, and the same
              12      hereby are, DISMISSED WITH PREJUDICE.
              13              DATED January 17, 2018.
              14                                                   __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
